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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                            ..........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                                     15-cv-07433-RWS




                                                              ......
GHISLAINE MAXWELL,

        Defendant.


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                         Declaration Of Laura A. Menninger In Support Of
                  Defendant’s Reply in Support of Motion for Protective Order
                          Regarding Personal Financial Information

        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of

Reply to Plaintiff’s Opposition to Defendant’s Motion To Reopen Plaintiff’s Deposition.

        2.       Attached as Exhibit D (filed under seal) is a true and correct copy of

correspondence between Plaintiff and literary agent Marianne Strong dated February 19, 2014

and February 21, 2014, marked as Confidential by Plaintiff.

Dated: August 29, 2016

                                                                                         By: /s/ Laura A. Menninger
                                                                                         Laura A. Menninger
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                                CERTIFICATE OF SERVICE

I certify that on August 29, 2016, I electronically served this Declaration Of Laura A. Menninger
In Support Of Reply in Support of Motion for Protective Order Regarding Personal Financial
Information via ECF on the following:

Sigrid S. McCawley                               Paul G. Cassell
Meredith Schultz                                 383 S. University Street
BOIES, SCHILLER & FLEXNER, LLP                   Salt Lake City, UT 84112
401 East Las Olas Boulevard, Ste. 1200           cassellp@law.utah.edu
Ft. Lauderdale, FL 33301
smccawley@bsfllp.com
mschultz@bsfllp.com
                                                 J. Stanley Pottinger
Bradley J. Edwards                               49 Twin Lakes Rd.
FARMER, JAFFE, WEISSING, EDWARDS,                South Salem, NY 10590
FISTOS & LEHRMAN, P.L.                           StanPottinger@aol.com
425 North Andrews Ave., Ste. 2
Ft. Lauderdale, FL 33301
brad@pathtojustice.com
                                                 /s/ Nicole Simmons
                                                 Nicole Simmons




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